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                            IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO
                                     _________________

UNITED STATES OF AMERICA

               Plaintiff,

       vs.                                                      Case No. 1:22-CR-00300-KWR


WALTER PALMON EDDINGS,

               Defendant.


                             MEMORANDUM OPINION AND ORDER

       THIS MATTER is before the Court on the Government’s First Motion in Limine to Admit

Prior Conviction Documents (Doc. 60), Second Motion in Limine to Prohibit Unfounded Allegations

of Government Misconduct (Doc. 61), Third Motion in Limine to Prohibit Discussion of the Second

Amendment (Doc. 62), Fourth Motion in Limine to Exclude Evidence of Possible Penalties (Doc.

63), and Fifth Motion in Limine to Prohibit Discussion of Unproduced Defense Documents (Doc.

64). Of these, the Defendant only objected to the Government’s First Motion in Limine to Admit

Prior Conviction Documents. Docs. 67, 70. The Court held a hearing on these motions on January 22,

2024. Docs. 49, 81.

       For the reasons stated herein and on the record at the hearing, the Government’s Second,

Third, Fourth, and Fifth Motions in Limine are GRANTED. Docs. 61, 62, 63, 64. The Government’s

First Motion in Limine is DENIED in part, as described below. Doc. 60.

                                           DISCUSSION

       Mr. Eddings is charged with two counts of possessing a firearm and ammunition in violation

of 18 U.S.C. § 922(g)(1) and 924. Doc. 17. In its First Motion in Limine, the United States seeks to a
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to introduce evidence of the Defendant’s prior conviction documents to prove that the Defendant is a

convicted felon, knew he was a convicted felon, and knowingly possessed a firearm in the instant

case. Doc. 60 at 1.

   1. Mr. Eddings will stipulate to being a person previously convicted of a felony and to his
      knowledge of his status as a convicted felon, so evidence of the nature and number of his
      prior convictions is inadmissible.

       The United States seeks to introduce evidence of the Defendant’s past state felony convictions

for armed robbery, kidnapping, breaking and entering, and larceny to prove that the Defendant is a

convicted felon and knew he was a convicted felon. Doc. 60 at 1-2. See Rehaif v. United States, 139

S. Ct. 2191, 2200 (2019). The Defendant has stipulated to being an individual with a past felony

conviction and that he knew he had been convicted of a felony before the date of the alleged offense.

Docs. 67 at 1; 85. Mr. Eddings also requested that (1) the United States refer to him as an individual

with a previous felony conviction instead of a “felon” or “convicted felon” and (2) this Court provide

an admonishment to the jury to not speculate about the nature of the felony, nor to consider it as

evidence as to the other elements of the charged offense. Id. at n.1. The Defendant withdrew his

request about the way the United States may refer to his past felony convictions at the pre-trial

conference. Doc. 81 at 1.

       The Federal Rules of Evidence provide that relevant evidence is admissible at trial. Fed. R.

Evid. 401, 402. However, under Rule 403, relevant evidence may be excluded “if its probative value

is substantially outweighed by a danger of one or more of the following: unfair prejudice, confusing

the issues, misleading the jury, undue delay, wasting time, or needlessly presenting cumulative

evidence.” Fed. R. Evid. 403. “There can be no question that evidence of the name or nature of the

prior offense generally carries a risk of unfair prejudice to the defendant.” Old Chief v. United States,

519 U.S. 172, 185 (1997). See also United States v. Silva, 889 F.3d 704, 713 (10th Cir. 2018). Rule



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403 bars the inclusion of detailed evidence of prior felony convictions where equally probative but

less prejudicial alternative evidence, like the stipulation of a prior felony conviction, is available. Old

Chief, 519 U.S. at 191.

       Because the Defendant is willing to stipulate being a person previously convicted of a felony

and his knowledge of the felony on the date of the offense, the Court agrees that the inclusion of the

name and nature of the Defendant’s prior felony convictions would be unfairly prejudicial to him

under Rule 403. Doc. 67 at 1. See Old Chief, 519 U.S. at 185, 191; Fed. R. Evid. 403. The Court

therefore denies the entry of Mr. Eddings’ prior felony convictions to prove that he was previously

convicted of a felony or to prove his knowledge of his status as a convicted felon. Finally, the Court

will consider a jury instruction that admonishes the jury to not speculate about the nature of the felony,

nor to consider it as evidence as to the other elements of the charged offense. See Doc. 67 at 1 n.1.

   2. The Court reserves judgement on the admission of Mr. Eddings’ prior conviction for
      stealing from a federal firearms licensee.

       The United States also seeks to admit evidence of Mr. Eddings’ prior federal conviction for

unlawfully stealing from a federal firearms licensee to establish Mr. Eddings’ knowing possession of

firearms in the instant case. Docs. 57; 60 at 1; 67 at 2. See United States v. Griffin, 389 F.3d 1100,

1103 (10th Cir. 2004). The government argues that the admission of this evidence is for a proper

purpose under Rule 404(b)(2)—to prove Mr. Eddings’ knowledge and intent, and to rebut the

defenses of accident or mistake. Doc. 57 at 2; Fed. R. Evid. 404(b)(2). The Government also argues

that any unfair prejudice to the Defendant can be mitigated by a jury instruction. Doc. 57 at 9. In

response, the Defendant argues that the admission of evidence related to Mr. Eddings’ previous

firearms conviction is unrelated to his knowledge as to the possession of firearms in this case. Doc.

67 at 3.




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       Rule 404 prohibits admission into evidence of other crimes, wrongs, or acts to prove a person’s

character or to show that, on a particular occasion, the person acted in accordance with the character.

Fed. R. Evid. 404(b)(1). Prior bad acts evidence, or propensity evidence, may be admitted for the

narrow purpose of proving motive, opportunity, intent, preparation, plan, knowledge, identity,

absence of a mistake, or lack of accident. Fed. R. Evid. 404(b)(2). However, even if evidence is

admissible under Rule 404(b), it can still be excluded under Rule 403 if its probative value is

substantially outweighed by prejudice to the defendant. United States v. Silva, 889 F.3d 704, 711

(10th Cir. 2018).

       The Tenth Circuit uses a four part test to determine if evidence is admissible under Rule

404(b): (i) the evidence must be offered for a proper purpose under Rule 404(b); (ii) the evidence

must be relevant; (iii) the probative value of the evidence must not be substantially outweighed by its

potential for unfair prejudice; and (iv) the trial court shall, upon request, instruct the jury under Rule

105 to consider the evidence only for the proper purpose for which it was admitted. See United States

v. Smalls, 752 F.3d 1227, 1237 (10th Cir. 2014); United States v. Davis, 636 F.3d 1281, 1297 (10th

Cir. 2011). Evidence is relevant if it has any tendency to make a fact more or less probable than it

would be without the evidence and if the fact is of consequence in determining the action. Fed. R.

Evid. 401.

       The Defendant’s prior knowledge of firearms is probative and relevant to whether the

Defendant, in general, knew that he was possessing firearms in this case. See Doc. 57 at 9; 67 at 3.

The Court acknowledges admission of the prior federal conviction for the purpose of proving that the

Defendant was familiar with firearms is proper under Rule 404(b). See Fed. R. Evid. 404(b). However,

a prior conviction for stealing from a federal firearms licensee is highly prejudicial, as it would tend




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to portray the Defendant as a habitual criminal with a propensity to be armed with a firearm. See Rule

404(b)(1); 403; Smalls, 752 F.3d at 1237.

       If the Defendant, at trial, introduces argument, witnesses or other evidence related to his

general lack of knowledge of firearms or that his possession of a firearm was a mistake, the Court

will allow the admission of his prior felony conviction for unlawfully stealing from a federal firearms

licensee. The Defendant may, at that time, request an instruction to the jury to only consider the

evidence for the purpose of establishing Mr. Eddings’ knowing possession of a firearm. See Doc. 57

at 9; Smalls, 752 F.3d at 1237; Davis, 636 F.3d at 1297 (10th Cir. 2011). The Court therefore reserves

judgement on this issue until the evidence is developed at trial.



IT IS THEREFORE ORDERED that:

      The Government’s First Motion in Limine to Admit Prior Conviction Documents (Doc. 60)
       is DENIED in part.

      The Government’s Second Motion in Limine to Prohibit Unfounded Allegations of
       Government Misconduct (Doc. 61) is GRANTED.

      The Government’s Third Motion in Limine to Prohibit Discussion of the Second Amendment
       (Doc. 62) is GRANTED.

      The Government’s Fourth Motion in Limine to Exclude Evidence of Possible Penalties (Doc.
       63) is GRANTED.

      The Government’s Fifth Motion in Limine to Prohibit Discussion of Unproduced Defense
       Documents (Doc. 64) is GRANTED.




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